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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF ILLINOIS
                                       BENTON DIVISION

       In re: AEROTAXI, LLC                                           §    Case No. 09-41505
                                                                      §
               AEROFLITE SALES & CHARTER                              §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Cynthia A Hagan, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $247,529.84                          Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$15,660.69            Claims Discharged
                                                       Without Payment: N/A

 Total Expenses of Administration:$3,649.04


         3) Total gross receipts of $     19,309.73      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $19,309.73
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $119,468.19         $55,897.50             $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           3,649.04          3,649.04           3,649.04

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                   304.00            8,879.74           5,483.33          5,483.33
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  2,387,176.51          89,988.62          72,104.31         10,177.36

                                        $2,506,948.70        $158,414.90        $81,236.68         $19,309.73
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on September 11, 2009.
  The case was pending for 52 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 01/13/2014                 By: /s/Cynthia A Hagan
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                  $ AMOUNT
               DESCRIPTION
                                                                                         TRAN. CODE 1                              RECEIVED
     Preference to Bank of Herrin                                                        1249-000                                    19,259.71

     Bank of America credit card refund                                                  1229-000                                       47.88

     Interest Income                                                                     1270-000                                         2.14


    TOTAL GROSS RECEIPTS                                                                                                            $19,309.73

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS            CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED             PAID
                                                       CODE                6D)
           7      MidCountry Bank                      4210-000             119,468.19              55,897.50              0.00                    0.00


    TOTAL SECURED CLAIMS                                                   $119,468.19           $55,897.50               $0.00                   $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS            CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED             PAID
                                                       CODE
 Cynthia A Hagan                                       2100-000            N/A                       2,680.97           2,680.97            2,680.97

 Cynthia A Hagan                                       2200-000            N/A                        116.21             116.21                  116.21

 The Bank of New York Mellon                           2600-000            N/A                         37.03              37.03                   37.03




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 The Bank of New York Mellon            2600-000          N/A                 43.57          43.57       43.57

 The Bank of New York Mellon            2600-000          N/A                 39.51          39.51       39.51

 The Bank of New York Mellon            2600-000          N/A                 38.11          38.11       38.11

 The Bank of New York Mellon            2600-000          N/A                 41.97          41.97       41.97

 Cynthia A. Hagan, Trustee              2300-000          N/A                 17.64          17.64       17.64

 The Bank of New York Mellon            2600-000          N/A                 39.23          39.23       39.23

 The Bank of New York Mellon            2600-000          N/A                 41.65          41.65       41.65

 The Bank of New York Mellon            2600-000          N/A                 37.65          37.65       37.65

 The Bank of New York Mellon            2600-000          N/A                 38.87          38.87       38.87

 The Bank of New York Mellon            2600-000          N/A                 37.50          37.50       37.50

 The Bank of New York Mellon            2600-000          N/A                 42.59          42.59       42.59

 The Bank of New York Mellon            2600-000          N/A                 37.34          37.34       37.34

 The Bank of New York Mellon            2600-000          N/A                 41.12          41.12       41.12

 The Bank of New York Mellon            2600-000          N/A                 39.75          39.75       39.75

 The Bank of New York Mellon            2600-000          N/A                 35.83          35.83       35.83

 The Bank of New York Mellon            2600-000          N/A                 42.15          42.15       42.15

 Cynthia A. Hagan, Trustee              2300-000          N/A                 17.86          17.86       17.86

 The Bank of New York Mellon            2600-000          N/A                 38.21          38.21       38.21

 The Bank of New York Mellon            2600-000          N/A                 36.84          36.84       36.84

 Rabobank, N.A.                         2600-000          N/A                 28.47          28.47       28.47

 Rabobank, N.A.                         2600-000          N/A                 24.88          24.88       24.88

 Rabobank, N.A.                         2600-000          N/A                 25.73          25.73       25.73

 Rabobank, N.A.                         2600-000          N/A                 28.36          28.36       28.36

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A             $3,649.04      $3,649.04    $3,649.04
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                             CLAIMS           CLAIMS          CLAIMS        CLAIMS
                                        TRAN.
                                                     SCHEDULED        ASSERTED        ALLOWED         PAID
                                        CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                $0.00          $0.00        $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM     CLAIMS                CLAIMS
   CLAIM                                            SCHEDULED             ASSERTED              CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.      (from Form          (from Proofs of       ALLOWED         PAID
                                          CODE           6E)                  Claim)
       3P   Illinois Department of       5800-000                 0.00            3,396.41             0.00         0.00
            Revenue
       3P-2 Illinois Department of       5800-000                 0.00            3,396.41         3,396.41     3,396.41
            Revenue
       6    Illinois Department of       5800-000       N/A                       2,086.92         2,086.92     2,086.92
            Employment Security
 NOTFILED   AUDRA POORE                  5200-000              134.00          N/A                  N/A             0.00

 NOTFILED   MARBLE H JOINER              5200-000              170.00          N/A                  N/A             0.00

 TOTAL PRIORITY UNSECURED                                     $304.00           $8,879.74         $5,483.33    $5,483.33
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM     CLAIMS                CLAIMS
   CLAIM                                            SCHEDULED             ASSERTED              CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.      (from Form          (from Proofs of       ALLOWED         PAID
                                          CODE           6F)                  Claim)
       1    Blue Sky Vineyard            7100-000          2,077.60               2,382.62         2,382.62      336.30

       2    Vicki Joplin                 7100-000       N/A                       4,772.42         4,772.42      673.62

       3U   Illinois Department   of     7100-000       N/A                          270.47            0.00         0.00
            Revenue
       3U-2 Illinois Department   of     7100-000       N/A                          270.47         270.47        38.18
            Revenue
       4    Illinois Department   of     7100-000                 0.00            1,881.40             0.00         0.00
            Revenue
       5    Illinois Department   of     7100-000                 0.00               345.66            0.00         0.00
            Revenue
       5 -2 Illinois Department   of     7100-000                 0.00               345.66            0.00         0.00
            Revenue
       8    Menard, Inc                  7100-000       N/A                     12,657.50              0.00         0.00

       8 -2 Menard, Inc                  7100-000       N/A                     12,657.50         12,657.50     1,786.58

       9    AERO Aviation Co             7100-000          3,714.94               3,810.17         3,810.17      537.80

      10    Blue Sky Vineyards LLC       7100-000       N/A                       2,383.62             0.00         0.00

      11    Winters, Brewster, Crosby,   7100-000          3,573.00                  220.00         220.00        31.05
            and Schafer, LLC
      12    Universal Avionics Systems   7100-000              888.00                888.00         888.00       125.34
            Corp
      13    Pawnee Leasing Corporation   7100-000       unknown                   9,229.52         9,229.52     1,302.72

      14    Bank of Herrin               7100-000       N/A                     37,873.61         37,873.61     5,345.77

 NOTFILED   MCFARLAN                     7100-000              236.65          N/A                   N/A            0.00

 NOTFILED   HEPPESEN SANDERSON           7100-000              244.00          N/A                   N/A            0.00

 NOTFILED   NORTHWESTERN MUTUAL          7100-000          1,314.16            N/A                   N/A            0.00




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 NOTFILED   NAPA AUTO PARTS              7100-000            387.19    N/A              N/A   0.00

 NOTFILED   FOX'S                        7100-000         2,194.56     N/A              N/A   0.00

 NOTFILED   CUNNINGHAM INVESTMENTS       7100-000       560,780.00     N/A              N/A   0.00

 NOTFILED   CONCEPTE OF ILLINOIS, INC.   7100-000            110.00    N/A              N/A   0.00

 NOTFILED   DEPARTMENT OF TRANSPORTATION 7100-000             11.25    N/A              N/A   0.00

 NOTFILED   DOUG'S LOCK AND KEY SERVICE 7100-000              21.70    N/A              N/A   0.00

 NOTFILED   DIRECT TV                    7100-000             97.98    N/A              N/A   0.00

 NOTFILED   HP PRODUCTS                  7100-000             61.90    N/A              N/A   0.00

 NOTFILED   FLIGHT SAFETY                7100-000        13,350.00     N/A              N/A   0.00

 NOTFILED   JAN'S TASTE OF HOME CATERING 7100-000            117.70    N/A              N/A   0.00
            SERVICE
 NOTFILED   OWL CREEK VINEYARD           7100-000            122.88    N/A              N/A   0.00

 NOTFILED   WASHINGTON MUTUAL            7100-000            687.18    N/A              N/A   0.00

 NOTFILED   TIFFIN AIRE, INC.            7100-000         9,226.90     N/A              N/A   0.00

 NOTFILED   WINNELSON PLUMBING SUPPLY    7100-000            322.17    N/A              N/A   0.00

 NOTFILED   WILLIAMSON COUNTY AIRPORT    7100-000         7,714.21     N/A              N/A   0.00
            AUTHORITY
 NOTFILED   THOMASON TRANSPORTATION      7100-000            824.18    N/A              N/A   0.00

 NOTFILED   ZEP                          7100-000            239.72    N/A              N/A   0.00

 NOTFILED   STEELWATER SOLUTIONS         7100-000             84.00    N/A              N/A   0.00

 NOTFILED   THE TRAVELERS INSURANCE      7100-000         4,005.00     N/A              N/A   0.00

 NOTFILED   RON COLLINS AVIATION         7100-000             59.57    N/A              N/A   0.00
            ELECTRONICS
 NOTFILED   RAINWATER PURE WATER, INC.   7100-000             56.00    N/A              N/A   0.00

 NOTFILED   SOUTHERN ILLINOIS WINGS OF   7100-000         1,096.13     N/A              N/A   0.00
            CHARITY
 NOTFILED   SCHLAGER ADVERTISING         7100-000            177.04    N/A              N/A   0.00

 NOTFILED   CHEVRON GLOBAL AVIATION      7100-000        25,279.60     N/A              N/A   0.00

 NOTFILED   STARMARK                     7100-000            973.89    N/A              N/A   0.00

 NOTFILED   BOMBARDIER CAPITAL INC.      7100-000            300.00    N/A              N/A   0.00

 NOTFILED   CAVCO PRINTING               7100-000            332.17    N/A              N/A   0.00

 NOTFILED   AEROSPACE WELDING            7100-000            535.80    N/A              N/A   0.00
            MINNEAPOLIS, INC.
 NOTFILED   AEROSPACE WELDING            7100-000            535.80    N/A              N/A   0.00
            MINNEAPOLIS, INC.
 NOTFILED   BOB GULLEDGE                 7100-000        90,000.00     N/A              N/A   0.00

 NOTFILED   BURCH COFFEE SERVICE         7100-000             89.85    N/A              N/A   0.00

 NOTFILED   BEUCO, INC.                  7100-000             59.13    N/A              N/A   0.00

 NOTFILED   BUSINESS AIRCRAFT            7100-000             55.70    N/A              N/A   0.00
            CONSUMABLES
 NOTFILED   AVIALL SERVICES, INC.        7100-000         4,362.37     N/A              N/A   0.00




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 NOTFILED   AVANTEXT                   7100-000          7,487.00    N/A                N/A            0.00

 NOTFILED   AFLAC                      7100-000            177.51    N/A                N/A            0.00

 NOTFILED   AEROSTAR WORLD, INC.       7100-000          4,134.38    N/A                N/A            0.00

 NOTFILED   AIR CO OF TEXAS            7100-000            810.58    N/A                N/A            0.00

 NOTFILED   AIRCRAFT SPECIALTIES       7100-000            579.55    N/A                N/A            0.00
            SERVICES
 NOTFILED   AIRCRAFT TECHNICAL         7100-000          2,105.00    N/A                N/A            0.00
            PUBLISHERS
 NOTFILED   CHEVRON CREDIT CARD        7100-900      1,625,793.50    N/A                N/A            0.00

 NOTFILED   CITIFINANCIAL              7100-900          9,768.00    N/A                N/A            0.00

 NOTFILED   CHASE CARD SERVICES        7100-900              1.07    N/A                N/A            0.00

 TOTAL GENERAL UNSECURED                            $2,387,176.51    $89,988.62     $72,104.31   $10,177.36
 CLAIMS




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                                                                                                                                                                  Exhibit 8


                                                                            Form 1                                                                                Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 09-41505                                                               Trustee:        (330440)     Cynthia A Hagan
Case Name:         AEROTAXI, LLC                                                    Filed (f) or Converted (c): 09/11/09 (f)
                                                                                    §341(a) Meeting Date:        10/23/09
Period Ending: 01/13/14                                                             Claims Bar Date:             04/11/12

                                  1                                   2                        3                      4                  5                   6

                    Asset Description                              Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                             Remaining Assets

 1       Farmers State Bank - operating account                       Unknown                         0.00                                    0.00                    FA
          amount unknown - bank will not provide bank
         statement

 2       Fifth Third Bank - operating account X9465                       0.00                        0.00                                    0.00                    FA

 3       Fifth Third Bank, Marion, IL - operating account            45,506.87                        0.00                                    0.00                    FA
          #9457 - statement shows balance of $45,506.87.
         Fifth Third Bank set off balance - there were
         outstanding checks on this account, also subject to
         cashier's checks taken out on 9/11/09

 4       Herrin Security Bank - operating account x7009,             10,728.82                        0.00                                    0.00                    FA
          Herrin Security Bank set-off balance

 5       Northwestern Mutual - $500,000.00 life ins.                      0.00                        0.00                                    0.00                    FA
          policy on Bob Gulledge (term ins.)

 6       Accounts receivable - see list attached                     56,794.15                        0.00                                    0.00                    FA

 7       Pending lawsuit with Region Air for equipment                Unknown                      Unknown                                    0.00                    FA
          to be turned over to debtor (settlement pending)

 8       Pending refund from workers comp., liability and             Unknown                      Unknown                                    0.00                    FA
          vehicle insurance

 9       FAA Charter Certificate                                          0.00                        0.00                                    0.00                    FA

10       1946 Air Coup 415-C, fixed wing single engine                7,500.00                        0.00                                    0.00                    FA
          (disassembled - in pieces)

11       1977 Piper PA-28-161, fixed wing single engine               9,000.00                        0.00                                    0.00                    FA
          (Bob Gulledge personal 1956 Beech G35 also
         pledged as collateral)

12       Cessna 150J - standard 1968 Fixed Wing Single               18,000.00                        0.00                                    0.00                    FA
          Engine

13       Smith Aerostar 601P, fixed wing multi engine               100,000.00                        0.00                                    0.00                    FA

14       4 desk computers, copy machine, 3 printers,                  Unknown                         0.00                                    0.00                    FA
          large table, medium table, 2 credit card machines,
         coffee maker, 2 microwaves, 20 chairs, 4 filing
         cabients, 3 office desks, 5 sotrage cabinets, 2 white
         tables



                                                                                                                                   Printed: 01/13/2014 11:20 AM    V.13.13
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                                                                                                                                                                             Exhibit 8


                                                                                   Form 1                                                                                    Page: 2

                                                 Individual Estate Property Record and Report
                                                                  Asset Cases
Case Number: 09-41505                                                                      Trustee:       (330440)      Cynthia A Hagan
Case Name:           AEROTAXI, LLC                                                         Filed (f) or Converted (c): 09/11/09 (f)
                                                                                           §341(a) Meeting Date:        10/23/09
Period Ending: 01/13/14                                                                    Claims Bar Date:             04/11/12

                                   1                                        2                         3                       4                    5                     6

                      Asset Description                                  Petition/           Estimated Net Value         Property             Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                    Unscheduled      (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                          Values           Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

15         Air compressor, electric GPU, tug,                               Unknown                         0.00                                        0.00                     FA
             nitrogen/oxygen cart, 6 jack stand sets, hydraulic
           jack, engine stand, 3 battery chargers, spark plug
           tester, bose radio, 2 creepers, 4 shelving units, golf
           cart (4 passenger), scale, prop balancer, ship smith,
           parts washer, sand blaser, drill press, aircraft heater,
           lavatory cart, 2 shot lights, 2 tire gauge sets, torque
           wrench, 3 tow bars, 5 tow bar heads, cooking grill,
           avgas tank & cart, metal break, hydraulic stand, 6
           misc. tables/benches, service cart, cable tentiometer,
           sniffer, fire proof cabinet, large fan.

16         Fuel on hand; Jet A-8,000 gallons; AV gas-1,800                  Unknown                         0.00                                        0.00                     FA
             gallons

17         Oil (2 cases), grease, deicer, etc.                              Unknown                         0.00                                        0.00                     FA

18         3 leases/agreements with Williamson County                       Unknown                         0.00                                        0.00                     FA
             Airport Authority for fuel flowage, hanger aircraft
           movement and fixed based operator

19         Preference to Bank of Herrin (u)                                 Unknown                    19,259.71                                   19,259.71                     FA

20         Bank of America credit card refund (u)                           Unknown                        47.88                                       47.88                     FA

 Int       INTEREST (u)                                                     Unknown                          N/A                                        2.14                     FA

 21       Assets       Totals (Excluding unknown values)                  $247,529.84                 $19,307.59                                  $19,309.73                  $0.00



       Major Activities Affecting Case Closing:

       Initial Projected Date Of Final Report (TFR):          December 31, 2011              Current Projected Date Of Final Report (TFR):       May 16, 2013 (Actual)




                                                                                                                                             Printed: 01/13/2014 11:20 AM     V.13.13
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                                                                                                                                                                               Exhibit 9


                                                                                Form 2                                                                                         Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         09-41505                                                                      Trustee:            Cynthia A Hagan (330440)
Case Name:           AEROTAXI, LLC                                                                 Bank Name:          The Bank of New York Mellon
                                                                                                   Account:            ****-******37-65 - Checking Account
Taxpayer ID #: **-***6329                                                                          Blanket Bond:       $69,146,203.00 (per case limit)
Period Ending: 01/13/14                                                                            Separate Bond: N/A

   1            2                           3                                     4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                 T-Code              $                  $       Account Balance
12/07/10      {19}        Craig Reeves                     Payment of preference from Bank of Herrin          1249-000             19,259.71                               19,259.71
12/31/10       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.12                               19,259.83
01/31/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,259.99
02/02/11      {20}        Bank of America                  Refund of Bank of America credit card              1229-000                 47.88                               19,307.87
02/28/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.14                               19,308.01
03/31/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,308.17
04/29/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.15                               19,308.32
05/31/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,308.48
06/30/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.15                               19,308.63
07/29/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,308.79
08/01/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         37.03       19,271.76
08/31/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,271.92
08/31/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         44.89       19,227.03
09/26/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         -1.32       19,228.35
                                                           Adjustment
09/30/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.15                               19,228.50
09/30/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         39.51       19,188.99
10/31/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,189.15
10/31/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         38.11       19,151.04
11/30/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.15                               19,151.19
11/30/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         41.97       19,109.22
12/01/11      1001        Cynthia A. Hagan, Trustee        BOND PREMIUM PAYMENT ON BANK                       2300-000                                         17.64       19,091.58
                                                           BALANCE AS OF 11/03/2011 FOR CASE
                                                           #09-41505, Bond Premium Reimbursement as
                                                           of 11/3/11
12/30/11       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,091.74
12/30/11                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         39.23       19,052.51
01/31/12       Int        The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                  0.16                               19,052.67
01/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         41.65       19,011.02
02/29/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         37.65       18,973.37
03/30/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         38.87       18,934.50
04/30/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         37.50       18,897.00
05/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         42.59       18,854.41
06/29/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         37.34       18,817.07
07/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         41.12       18,775.95
08/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         39.75       18,736.20
09/28/12                  The Bank of New York Mellon      Bank and Technology Services Fee                   2600-000                                         35.83       18,700.37

                                                                                                   Subtotals :                    $19,309.73                 $609.36
{} Asset reference(s)                                                                                                                       Printed: 01/13/2014 11:20 AM        V.13.13
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                                                                                                                                                                           Exhibit 9


                                                                              Form 2                                                                                       Page: 2

                                                     Cash Receipts And Disbursements Record
Case Number:        09-41505                                                                   Trustee:            Cynthia A Hagan (330440)
Case Name:          AEROTAXI, LLC                                                              Bank Name:          The Bank of New York Mellon
                                                                                               Account:            ****-******37-65 - Checking Account
Taxpayer ID #: **-***6329                                                                      Blanket Bond:       $69,146,203.00 (per case limit)
Period Ending: 01/13/14                                                                        Separate Bond: N/A

   1            2                         3                                    4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction               T-Code              $                  $       Account Balance
10/31/12                 The Bank of New York Mellon      Bank and Technology Services Fee                2600-000                                         42.15       18,658.22
11/05/12      1002       Cynthia A. Hagan, Trustee        BOND PREMIUM PAYMENT ON LEDGER                  2300-000                                         17.86       18,640.36
                                                          BALANCE AS OF 11/03/2012 FOR CASE
                                                          #09-41505, Reimbursement for Blanket Bond
                                                          #016028270 Term 11/3/12 to11/3/13
11/30/12                 The Bank of New York Mellon      Bank and Technology Services Fee                2600-000                                         38.21       18,602.15
12/31/12                 The Bank of New York Mellon      Bank and Technology Services Fee                2600-000                                         36.84       18,565.31
01/03/13                 RABOBANK MIGRATION               TRANSFER TO 0001033044088                       9999-000                                   18,565.31                0.00
                         TRANSFER OUT                     20130103

                                                                             ACCOUNT TOTALS                                    19,309.73             19,309.73               $0.00
                                                                                    Less: Bank Transfers                            0.00             18,565.31
                                                                             Subtotal                                          19,309.73                  744.42
                                                                                    Less: Payments to Debtors                                               0.00
                                                                             NET Receipts / Disbursements                     $19,309.73                 $744.42




{} Asset reference(s)                                                                                                                   Printed: 01/13/2014 11:20 AM        V.13.13
                                             Case 09-41505-lkg                   Doc 82            Filed 01/15/14                Page 12 of 13

                                                                                                                                                                                  Exhibit 9


                                                                                   Form 2                                                                                          Page: 3

                                                   Cash Receipts And Disbursements Record
Case Number:        09-41505                                                                          Trustee:            Cynthia A Hagan (330440)
Case Name:          AEROTAXI, LLC                                                                     Bank Name:          Rabobank, N.A.
                                                                                                      Account:            ******1965 - Checking Account
Taxpayer ID #: **-***6329                                                                             Blanket Bond:       $69,146,203.00 (per case limit)
Period Ending: 01/13/14                                                                               Separate Bond: N/A

   1            2                          3                                           4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                  T-Code              $                  $       Account Balance
01/04/13                 RABOBANK MIGRATION                  RABOBANK MIGRATION                                  9999-000            18,565.31                                18,565.31
                         TRANSFER IN
01/31/13                 Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                        28.47        18,536.84
02/28/13                 Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                        24.88        18,511.96
03/29/13                 Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                        25.73        18,486.23
04/30/13                 Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                        28.36        18,457.87
08/28/13     11003       Illinois Department of Employment   Dividend paid 100.00% on $2,086.92; Claim#          5800-000                                   2,086.92          16,370.95
                         Security                            6; Filed: $2,086.92; Reference:
08/28/13     11004       Blue Sky Vineyard                   Dividend paid 14.11% on $2,382.62; Claim# 1; 7100-000                                              336.30        16,034.65
                                                             Filed: $2,382.62; Reference:
08/28/13     11005       Vicki Joplin                        Dividend paid 14.11% on $4,772.42; Claim# 2; 7100-000                                              673.62        15,361.03
                                                             Filed: $4,772.42; Reference:
08/28/13     11006       Menard, Inc                         Dividend paid 14.11% on $12,657.50; Claim#          7100-000                                   1,786.58          13,574.45
                                                             8 -2; Filed: $12,657.50; Reference:
08/28/13     11007       AERO Aviation Co                    Dividend paid 14.11% on $3,810.17; Claim# 9; 7100-000                                              537.80        13,036.65
                                                             Filed: $3,810.17; Reference:
08/28/13     11008       Winters, Brewster, Crosby, and      Dividend paid 14.11% on $220.00; Claim# 11;         7100-000                                        31.05        13,005.60
                         Schafer, LLC                        Filed: $220.00; Reference:
08/28/13     11009       Universal Avionics Systems Corp     Dividend paid 14.11% on $888.00; Claim# 12;         7100-000                                       125.34        12,880.26
                                                             Filed: $888.00; Reference:
08/28/13     11010       Pawnee Leasing Corporation          Dividend paid 14.11% on $9,229.52; Claim#           7100-000                                   1,302.72          11,577.54
                                                             13; Filed: $9,229.52; Reference:
08/28/13     11011       Bank of Herrin                      Dividend paid 14.11% on $37,873.61; Claim#          7100-000                                   5,345.77              6,231.77
                                                             14; Filed: $37,873.61; Reference:
08/28/13     11012       Cynthia A Hagan                     COMBINED CHECK FOR TRUSTEE                                                                     2,797.18              3,434.59
                                                             COMPENSATION, EXPENSES AND
                                                             INTEREST
                                                                Dividend paid 100.00%              2,680.97      2100-000                                                         3,434.59
                                                                on $2,680.97; Claim# ;
                                                                Filed: $2,680.97
                                                                Dividend paid 100.00%               116.21       2200-000                                                         3,434.59
                                                                on $116.21; Claim# ;
                                                                Filed: $116.21
08/28/13     11013       Illinois Department of Revenue      Combined Check for Claims#3U-2,3P-2                                                            3,434.59                  0.00
                                                                Dividend paid 14.11%                 38.18       7100-000                                                             0.00
                                                                on $270.47; Claim#
                                                                3U-2; Filed: $270.47
                                                                Dividend paid 100.00%              3,396.41      5800-000                                                             0.00
                                                                on $3,396.41; Claim#
                                                                                                       Subtotals :                  $18,565.31            $18,565.31
{} Asset reference(s)                                                                                                                          Printed: 01/13/2014 11:20 AM        V.13.13
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                                                                        Form 2                                                                                        Page: 4

                                               Cash Receipts And Disbursements Record
Case Number:        09-41505                                                            Trustee:              Cynthia A Hagan (330440)
Case Name:          AEROTAXI, LLC                                                       Bank Name:            Rabobank, N.A.
                                                                                        Account:              ******1965 - Checking Account
Taxpayer ID #: **-***6329                                                               Blanket Bond:         $69,146,203.00 (per case limit)
Period Ending: 01/13/14                                                                 Separate Bond: N/A

   1            2                       3                                4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From        Description of Transaction                 T-Code              $                   $       Account Balance
                                                     3P-2; Filed: $3,396.41

                                                                       ACCOUNT TOTALS                                    18,565.31              18,565.31               $0.00
                                                                              Less: Bank Transfers                       18,565.31                    0.00
                                                                       Subtotal                                                 0.00            18,565.31
                                                                              Less: Payments to Debtors                                               0.00
                                                                       NET Receipts / Disbursements                            $0.00          $18,565.31



                                                                                                                            Net              Net                  Account
                                                                       TOTAL - ALL ACCOUNTS                               Receipts      Disbursements             Balances

                                                                       Checking # ****-******37-65                       19,309.73                  744.42               0.00
                                                                       Checking # ******1965                                    0.00            18,565.31                0.00

                                                                                                                        $19,309.73            $19,309.73                $0.00




{} Asset reference(s)                                                                                                              Printed: 01/13/2014 11:20 AM        V.13.13
